Case No. 1:08-cv-01740-CMA Document 1 filed 08/15/08 USDC Colorado pg1of4

FILED
UNITED STATES DISTRICT COURT
IN THE UNITED STATES DISTRICT COURT DENVER, COLORADO
FOR THE DISTRICT OF COLORADO sna w fb same

Civil Action No. 08 ™ CV ms 0) ] 7 4 0) GREGORY C. LANGHAM

CLERK
(The above civil action number must appear on all future papers _ -
sent to the court in this action. Failure to include this number
may result in a delay in the consideration of your claims.)

CHRISTOPHER WEEDMAN #96198,
Appiicant,
v.

WARDEN STEVE HARTLEY, and
THE ATTORNEY GENERAL OF THE STATE OF COLORADO,

Respondents.

ORDER DIRECTING CLERK TO COMMENCE CIVIL ACTION AND
. DIRECTING APPLICANT TO CURE DEFICIENCY

Applicant has submitted an Application for a Writ of Habeas Corpus Pursuant to
28 U.S.C. § 2254 by a Person in State Custody and an Application for a Writ of Habeas
Corpus Pursuant to 28 U.S.C. § 2254. He has also tendered the $5.00 filing fee. As
part of the court's review pursuant to D.C.COLO.LCivR 8.2, the court has determined
that the submitted documents are deficient as described in this order. Notwithstanding
the deficiencies, the clerk of the court will be directed to commence a civil action.
Applicant will be directed to cure the following if he wishes to pursue his claims. Any
papers which the Applicant files in response to this order must include the civil action
number on this order.
28 U.S.C. § 1915 Motion and Affidavit:

(1) __ is not submitted
(2) _ _ is missing affidavit

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(3)
(5)
(6)
7)
(8)

(9)

is missing certified copy of prisoner's trust fund statement for the 6-month
period immediately preceding this filing

cr eer ere sey eee et et A CM

is missing an original signature by the prisoner

is not on proper form (must use the court’s current form)

names in caption do not match names in caption of complaint, petition or
habeas application
An original and a copy have not been received by the court.

Only an original has been received.

other:

Complaint, Petition or Application:

(10)
(11)
(12)
(13)
(14)
(15)

(16)

(17)
(18)

Xx

is not submitted

is not on proper form (must use the court’s current form)

is missing an original signature by the prisoner

is missing page nos. ___

uses et al. instead of listing all parties in caption

An original and a copy have not been received by the court. Only an
original has been received.

Sufficient copies to serve each defendant/respondent have not been
received by the court.

names in caption do not match names in text

other: two different habeas corpus applications submitted.

Accordingly, it is

ORDERED that the clerk of the court commence a civil action in this matter. Itis

FURTHER ORDERED that the Applicant cure the deficiencies designated above

within thirty (30) days from the date of this order. Any papers which the Applicant

files in response to this order must include the civil action number on this order. It is

FURTHER ORDERED that the clerk of the court mail to the Applicant, together

with a copy of this order, two copies of the following form(s): Application for a Writ of

Habeas Corpus Pursuant to 28 U.S.C. § 2254. It is

FURTHER ORDERED that the clerk of the court mail to Applicant a receipt for

the full $5.00 filing fee. It is

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FURTHER ORDERED that, if the Applicant fails to cure the designated

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the action will be dismissed without further notice. The dismissal shall be without

prejudice.

DATED at Denver, Colorado, this om,,, of Auge 2008.

BY THE COURT:

Mo
Cc - SHAFFER
United States Magistrate Judge

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

CERTIFICATE OF MAILING

civitActionNc, "Q8-CV-O1749

Christopher Weedman
Prisoner No. 96198

Limon Correctional Facility
49030 State Hwy. 71
Limon, CO 80826

| hereby certify that | have mailed a copy of the ORDER, a receipt for the full $5.00

filing fee, and two copies of the Application for a Writ of Habeas Corpus Pursuant
to 28 U.S.C. § 2254 form to the above-named individuals on gS | LS “Dy

GREGORY C. LANGHAM, CLERK

SOP

\ Peruty Clerk

